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FELICELLO                                                  Rosanne E. Felicello*
                                                              Managing Partner
                                                                                                       Felicello Law P.C.
                                                                                                     366 Madison Avenue
                                                                                                                 3rd Floor
                                                                                                     New York, NY 10017

                                                                                                    Tel. +1 (212) 584-7806
                                                                                                 rosanne@felicellolaw.com



                                                      May 26, 2022
 VIA ECF

 Hon. Valerie Figueredo
 Magistrate Judge
 United States Courthouse
 500 Pearl St.
 New York, NY 10007-1312

 Re: Baliga, et al. v. Link Motion Inc., et al., Case No. 1:18-cv-11642-VM-DCF (S.D.N.Y.)


 Dear Judge Figuero:

         We represent Defendant Vincent Wenyong Shi (“Dr. Shi”). We write to request that the
 following Sealed Documents, along with any motions or letter motions that served as the basis
 for the sealing and all supporting documents, immediately be publicly filed:

            •   Dkt. No. 27 (2/26/2019);
            •   Dkt. No. 44 (4/25/2019);
            •   Dkt. No. 74 (6/25/2019);
            •   Dkt. No.79 (7/9/2019);
            •   Dkt. No. 99 (9/20/2019);
            •   Dkt. No. 109 (10/17/2019);
            •   Dkt. No. 118 (12/9/2019);
            •   Dkt. No. 119 (1/17/2020);
            •   Dkt. No. 120 (1/17/2020);
            •   Dkt. No. 255 (9/8/2021); and
            •   Dkt. No. 256 (9/8/2021).

         According to Judge Victor Marrero’s individual practices, these documents should have
 been accompanied by a motion to seal or letter motion to seal that included identification of all
 parties and/or other case participants that the party requesting sealing believes should be granted
 access and should have shown that the “interest to be protected by filing under seal outweighs
 the presumption of public access.” Standing Order 19 MISC 583. We can find no evidence on
 the docket or otherwise that any party made the necessary motions to seal or that Judge Marrero
 or Magistrate Judge Freeman granted any such motions. Without notice of the Receiver’s request
 to seal these documents, we were deprived of an opportunity to contest the requests to seal at the
 time they were made.

        “The common law right of public access to judicial documents is said to predate the
 Constitution.” United States v. Amodeo, 44 F.3d 141, 145 (2d Cir. 1995). It is our understanding


                                                             *Admitted to practice law in New York & Massachusetts
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that the Sealed Documents were filed by the Receiver or at the Receiver’s request to report the
Receiver’s progress to the Court. In this Circuit, such reports, including any exhibits, are
“judicial documents subject to the common law presumption of public access.” Id. at 146. As
judicial documents, the Sealed Documents may only be restricted from public view if the Court
determines that restriction is necessary after “weighing the interests advanced by the parties in
light of the public interest and the duty of the courts.” Id. (citation omitted). Any restrictions that
prevent the public from viewing the Sealed Documents in toto must be supported by specific
findings. Id. at 148.

         Here the Court has made no findings as to whether and to what extent the Sealed
Documents should be sealed. There are no motions or decisions on the docket, and no notations
that such findings were made for any of the Sealed Documents. In any event, even if the balance
of interests had weighed in favor of sealing these documents when the Court considered the
Receivership to be proper, now that Magistrate Judge Debra Freeman has issued a Report and
Recommendation that the Receivership be dissolved, Dkt. No. 275, that balance has now shifted
and it is critical that these documents be made publicly available.

         In particular, we have now learned that “note” given to the Receiver’s agent, Mr. Lilin
“Francis” Guo, was not merely compensation for services, Dkt. No. 71, but a wholesale transfer
of a large block of stock in the nominal defendant, Link Motion, Inc. See, e.g., Dkt. No. 276,
277, 298. Neither the note nor the Receiver’s submission regarding it were served on us when
originally submitted to the Court in July 2019 and we were not afforded an opportunity to object
at that time. We learned that the note was used by the Receiver to grant to Mr. Guo a large equity
position in the Company in March of this year. All of the documents relating to the note and the
other documents currently under seal are “judicial documents” and must be disclosed to the
public. Amodeo, 44 F.3d at 145.

        We have conferred with counsel for Plaintiff and the Receiver. We suggested that the
parties enter a stipulation to unseal the Sealed Documents. To date, counsel for the Plaintiff and
Receiver have refused to agree to such a stipulation.

        We, therefore, request that the Court enter an Order that the above listed Sealed
Documents, along with any motions or letter motions that served as the basis for the sealing and
all supporting documents, be filed publicly.

         Thank you for your attention to this matter.


                                                        Respectfully submitted,

                                                        /s/ Rosanne E. Felicello

                                                        Rosanne E. Felicello
cc:      All counsel of record (via ECF)




4883-1754-4226, v. 7
